THE COURT.
Application for a writ of prohibition to prohibit the trial court from hearing an anticipated contempt proceeding for failure to comply with a court order. *Page 108 
 [1] The petition does not set forth any of the court minutes, records, or citations from which it appears that any such proceeding is contemplated. The document set forth on page 5 of the petition is merely a subpoena, in the usual form, to appear as a witness in a proceeding pending before the court. While the petition alleges on page 5 that in pursuance of the subpoena the court proceeded "on the return date, and many times thereafter to hear and try this petition, based on said subpoena for contempt", etc., and "has proceeded to try her for contempt as a result of and based solely on said subpoena over the objections of petitioner" etc., the petitioner has not set forth the court minutes, or a transcript of the testimony, or something else of record to show that this has been done. All we have is the conclusion of the petitioner.
The petition is denied.